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CRIMINAL MINUTES

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

 

 

 

 

HONORABLE FEDERICO A. MORENO Presiding
Case No. __03-20774-CR-MORENO Date: _ February 5, 2020
Clerk: Shirley Christie Reporter: _Gilda Pastor-Hernandez
USPO: N/A Interpreter: N/A

 

 

UNITED STATES OF AMERICA vs. __ Gilberto Rodriguez-Orejuela

AUSA: _ Lisa Hirsch/Lynn Kirkpatrick

Defendant(s) Counsel: David Markus, Esq./Marc Seitles, Esq.

Defendant(s): Present Not Present__xxxx In Custody

Reason for hearing: Motion Hearing [D.E. #310,311]

 

 

Result of hearing: _ Take under advisement.
Counsel will file medical records of the defendant.

 

TIME: 50 minutes
